 Case 1:16-cv-01116-JTN-ESC ECF No. 87 filed 10/19/17 PageID.438 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

CHRISTOPHER JEROME, an individual,
LEO JEROME, an individual, and STORY
COMPANIES, LLC, a Michigan limited
liability company,
                                             Case No. 1:16-cv-01116
             Plaintiffs,
                                             Hon. Janet T. Neff
v.

JOEL FERGUSON, an individual, VIRGIL
BERNERO, the Mayor of the City of Lansing,
in his individual capacity, LANSING
ECONOMIC AREA PARTNERSHIP, INC., a
Michigan non-profit corporation, ROBERT L.
TREZISE, JR., an individual, CLARK
CONSTRUCTION SERVICES, LLC, a
Michigan limited liability company,
CHARLES CLARK, an individual, FRANK
KASS, an individual, CONTINENTAL
DEVELOPMENT, INC., an Ohio corporation,
HALLMARK CAMPUS COMMUNITIES, an
Ohio partnership, FERGUSON
DEVELOPMENT, LLC, a Michigan limited
liability company, CHRISTOPHER
STRALKOWSKI, an individual,
FERGUSON/CONTINENTAL LANSING,
LLC, a Delaware limited liability company,
and RED CEDAR INVESTOR, LLC, a
Michigan limited liability company,

             Defendants.



               DEFENDANTS’ UNIFIED MOTION TO DISMISS

                           ORAL ARGUMENT REQUESTED
 Case 1:16-cv-01116-JTN-ESC ECF No. 87 filed 10/19/17 PageID.439 Page 2 of 3



       In accordance with the Court’s Order dated May 5, 2017, the above-captioned

Defendants bring this Unified Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and (6).

Because, for the reasons set forth more fully in the accompanying Brief in Support of this

Motion, Plaintiffs lack standing to pursue this action and their Amended Complaint falls far short

of stating any claim upon which relief can be granted, Defendants respectfully request that the

Court dismiss this action in its entirety and with prejudice.

       This Motion is supported by the accompanying Brief. Pursuant to W.D. Mich. LCivR

7.1(d), Plaintiffs have indicated in their response to the Amended Premotion Conference

Requests filed by the Defendants that Plaintiffs oppose this Motion.




Dated: July 5, 2017                           /s/ Dean F. Pacific
                                              Dean F. Pacific (P57086)
                                              Jeffrey W. Bracken (P25648)
                                              Thomas M. Amon (P72351)
                                              WARNER NORCROSS & JUDD LLP
                                              900 Fifth Third Center
                                              111 Lyon Street, N.W.
                                              Grand Rapids, Michigan 49503-2487
                                              616.752.2000

                                              Attorneys for Lansing Economic Area Partnership
                                              and Trezise, and lead counsel for purposes of
                                              Defendants’ Unified Motion and Brief pursuant to
                                              Order dated May 5, 2017




                                                  2
 Case 1:16-cv-01116-JTN-ESC ECF No. 87 filed 10/19/17 PageID.440 Page 3 of 3



Counsel for Co-Defendants:

/s/ Patrick A. Facca                        /s/ John D. Pirich
Patrick A. Facca                            John D. Pirich
Facca Richter & Pregler PC                  Andrea L. Hansen
6050 Livernos                               Honigman Miller Schwartz and Cohn LLP
Troy, MI 48098                              222 N Washington Sq., Ste. 400
(248) 398-9900                              Lansing, MI 48933-1800
Email: pfacca@frplaw.com                    (517) 377-0709
Attorneys for Charles Clark and Clark       Email: jpirich@honigman.com
Construction Services, LLC                  ahansen@honigman.com
                                            Attorneys for Joel Ferguson, Ferguson
                                            Development, LLC, Christopher Stralkowski,
/s/ David K. Otis                           and Red Cedar Investor, LLC
David K. Otis
Plunkett Cooney (Lansing)                   /s/ Terrence Joseph Sheahan
325 E Grand River, Ste. 250                 Terrence Joseph Sheahan
East Lansing, MI 48823                      Freeborn & Peters LLP
(517) 333-6598                              311 S Wacker Dr., Ste. 3000
Email: dotis@plunkettcooney.com             Chicago, IL 60606
Attorneys for Virgil Bernero                (312) 360-6000
                                            Email: tsheahan@freeborn.com
                                            Attorneys for Frank Kass, Continental
                                            Development, Inc., Hallmark Campus
                                            Communities, and Ferguson/Continental
                                            Lansing, LLC



15991814-1




                                        3
